Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 1 of 7 PageID #:
                                    246
Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 2 of 7 PageID #:
                                    247
Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 3 of 7 PageID #:
                                    248
Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 4 of 7 PageID #:
                                    249
Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 5 of 7 PageID #:
                                    250
Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 6 of 7 PageID #:
                                    251
Case 2:05-cr-20134-PM-APW   Document 105   Filed 06/20/07   Page 7 of 7 PageID #:
                                    252
